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                          UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT of CALIFORNIA

                                  CRIMINAL MINUTES

 Judge:            Jon S. Tigar                          Time in Court:     25 minutes
 Date:             January 21, 2022
 Case No.:         4:21-cr-00370-JST-1

 United States of America             v.       Donald Stephen Kyle

                                             Defendant
                                            Present
                                            Not Present
                                            In Custody

 Jonathan Lee                                            Angela Hansen
 U.S. Attorney                                           Defense Counsel



 Courtroom Deputy Clerk: Mauriona Lee                    Reporter: Pamela Hebel


                                      PROCEEDINGS

Change of Plea – held.

                                  RESULT OF HEARING


   1. The plea agreement was emailed to the court signed and filed in court. The Defendant was
      sworn. The Court found the Defendant to be fully competent and capable of entering into
      an informed plea. The plea is knowing and voluntary. The Court found a factual basis for
      the plea. The Defendant entered a plea of guilty as to Count One of the Information. The
      plea was accepted and the Defendant is adjudged guilty of the offense.
   2. Sentencing set for May 13, 2022 at 9:30 a.m. in courtroom 6, 2nd floor.
   3. Defendant will remain out of custody pending sentencing.




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